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                                                                       8/30/2022




August 17, 2022


BY ECF

The Honorable Katharine H. Parker, U.S.M.J.
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 750
New York, NY 10007

Cohen v. Group Health Incorporated, Case No. 1:22-mc-00200-PAE-KHP:

                                      Letter Motion to Seal

Dear Judge Parker:

This firm represents Respondent Group Health Incorporated (“GHI” or “Respondent”) in the
above-referenced miscellaneous action. Shortly, we will file GHI’s opposition to Petitioner
Steve M. Cohen’s Motion to Quash, along with exhibits. Some of these exhibits have been
designated by Plaintiffs in the underlying action as “Confidential” or “Confidential/Attorneys’
Eyes Only” pursuant to the Stipulated Protective Order in the underlying action, Steven Plavin,
et al., v. Group Health Incorporated, No. 17-CV-01462-RDM (M.D. Pa. Jan. 10, 2018), ECF
Nos. 53-54. Under paragraph 11 of the Stipulated Protective Order, a copy of which is
attached, GHI is required to file these documents under seal.

Pursuant to Rule III(d) of Your Honor’s Individual Practices, GHI sent these documents to
Petitioner Steve M. Cohen and counsel for Plaintiffs in the underlying action (the designating
party) to determine whether sealing was necessary and to propose limited redactions of
confidential health information. Neither the Petitioner nor Plaintiffs’ counsel responded to our
proposal, nor did they consent to file these exhibits on the public docket. Accordingly, in order
to comply with the terms of the Stipulated Protective Order in the underlying action, GHI
respectfully requests permission to file these exhibits under seal, and to file a redacted version
of GHI’s brief on the public docket.
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        We thank the Court for its consideration.




                                                Respectfully submitted,

                                                         __/s/ Jared I. Kagan___
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                                                         Incorporated



           cc:      Steve M. Cohen (by ECF)
                    Counsel of Record in the underlying action (by email)

Respondent has moved to file documents related to its opposition brief under seal in order to maintain compliance
with the parties' Protective Order. However, that material is designated by the parties as confidential is not sufficient
to overcome the presumption of public access once the material becomes a judicial document. Dodona I, LLC v.
Goldman, Sachs & Co., 119 F. Supp. 3d 152, 155 (S.D.N.Y. 2015). Rather, a judicial document may only be sealed if the
court makes “specific, on the record findings” that sealing is necessary “to preserve higher values,” and “is narrowly
tailored to serve that interest.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124 (2d Cir. 2006). The parties
have not suggested that any such higher values are implicated here.

The Court grants the parties until September 13, 2022 to meet and confer to determine whether sealing is necessary to
"preserve higher values" in accordance with Lugosch and its progeny. If the parties maintain that sealing is necessary,
they shall file a revised motion to seal that proposes more narrowly tailored redactions and that explains, for each
proposed redaction, why sealing is necessary. If no revised motion is filed by September 13, 2022, the Court will order
the documents filed under seal to be unsealed.




                                   8/30/2022
